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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

  FEDERAL TRADE COMMISSION and

  OFFICE OF THE ATTORNEY GENERAL,
  STATE OF FLORIDA, DEPARTMENT OF
  LEGAL AFFAIRS,
                                                     Case No.: 6:16-cv-00982-CEM-TBS
                Plaintiffs,
  v.

  LIFE MANAGEMENT SERVICES OF
  ORANGE COUNTY, LLC, a Florida
  Limited Liability Company, et al.

                Defendants

  ______________________________________


          MATTEW LEIBERT, ESQUIRE’S UNOPPOSED MOTION TO
          WITHDRAW AS COUNSEL FOR DEFENDANT KEVIN GUICE

                                    Factual Allegations

           Comes now, Matthew Leibert, Esquire, pursuant to the Florida Rules of

 Professional Conduct Rule 4-1.16(a) and hereby moves for mandatory withdrawal

 as counsel of record, pursuant to the Florida Rules of Professional Conduct 4-

 1.16(b), and hereby moves for permissive withdrawal as counsel of record, and

 pursuant to Local Rule 2.03 of the Local Rules for the United States District Court

 for the Middle District of Florida, files this Unopposed Motion to Withdraw as

 counsel of Record for Defendant Kevin Guice, on the following grounds:

       1. This is a civil enforcement action against thirteen entities and seven


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 individuals for injunctive and other equitable relief based on allegations of deceptive

 and unfair trade practices in violation of the Federal Trade Commission Act, the

 Telemarketing and Consumer Fraud and Abuse Prevention Act and the

 Telemarketing Sales Rule.

    2. Pursuant to Local Rule 2.03 of the Local Rules for the United States District

 Court for the Middle District of Florida, undersigned counsel’s notice of his intent

 to withdraw was given to the client and opposing parties on June 9, 2017. This court

 may not rule on the Motion until June 19, 2017.

    3. Because this is an asset freeze case, undersigned counsel took this case on

 the reliance that attorney fees for Kevin Guice would be paid by the Relief

 Defendant, Timothy Woods’, Qualified Retirement Plan.

    4. The Stipulated Preliminary Injunction allowed for attorney fees to be paid

 from such fund. (Doc. 76 and Doc. 81)

    5. Undersigned counsel’s first three legal fee payments for Kevin Guice were

 made from Timothy Wood’s retirement fund.

    6. At some unknown time, the Timothy Woods and Kevin Guice decided that

 undersigned counsel’s fees would no longer be paid by Timothy Woods’ Qualified

 Retirement Plan, although undersigned counsel was not informed of this fact until

 he submitted his bill for the month of May. The bill for the month of May was for

 significant time spent on Kevin Guice’s Response to Summary Judgment.


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    7. Defendant Kevin Guice has no income and his assets are frozen. Therefore,

 there are no remaining “legal” funds or income by which undersigned counsel could

 be paid by Defendant, Kevin Guice.

    8. Because the Relief Defendants have pending settlement agreements, their

 remaining legal fees should be relatively small.

    9. Pursuant to the Florida Rules of Professional Conduct Rule 4-1.16(a),

 undersigned counsel moves for mandatory withdrawal so that no rules of

 professional conduct will be violated.

    10. Pursuant to the Florida Rules of Professional Conduct Rule 4-1.16(b)

 undersigned counsel hereby moves for permissive withdrawal as counsel of record:

     a. The client persists in in a course of action that undersigned counsel

 considers repugnant, imprudent, and with which he has fundamental disagreement.

     b. Continued representation will result in an unreasonable financial burden on

 undersigned counsel.

     c. The client has failed substantially to fulfill his obligation to undersigned

 counsel.

                                Memorandum of Law

    12. Florida Rule of Professional Conduct 1.16(a) states:

 (a) Except as stated in paragraph (c), a lawyer shall not represent a client or, where
 representation has commenced, shall withdraw from the representation of a client if:
 (1) the representation will result in violation of the rules of professional conduct or
 other law.
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    13. Undersigned Counsel represents that he must withdraw in this case.

    14. Pursuant to Local Rule 2.03(b), United States District

 Court for the Middle District of Florida:

     (b) No attorney, having made a general appearance under subsection (a) of
       this rule, shall thereafter abandon the case or proceeding in which the
       appearance was made, or withdraw as counsel for any party therein,
       except by written leave of Court obtained after giving ten (10) days' notice
       to the party or client affected thereby, and to opposing counsel.

       (c) In all criminal cases non-payment of attorney's fees shall not be
       sufficient justification for seeking leave to withdraw if the withdrawal of
       counsel is likely to cause a continuance of a scheduled trial date; nor shall
       leave be given to withdraw in any other case, absent compelling ethical
       considerations, if such withdrawal would likely cause continuance or
       delay. If a party discharges an attorney it shall be the responsibility of
       that party to proceed pro se or obtain the appearance of substitute
       counsel in sufficient time to meet established trial dates or other regularly
       scheduled proceedings as the Court may direct.

    15. A permissive motion to withdraw is a matter in the discretion of the court.

 Andrews v. Bechtel Power Corp. 780 F.2D 124(1st Cir. 1985) In considering a

 motion to withdraw, other federal courts have weighed “the reasons why withdrawal

 is sought; the prejudice withdrawal may cause the litigants; the delay in the

 resolution of the case which would result in withdrawal; and, the effect of

 withdrawal on the efficient administration of justice.” Rusinow v. Kamara, 920

 F.Supp. 69, 71 (D.N.J.1996).


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    16. In this case, undersigned counsel has complied with the Florida and Local

 Rules. No delay would be caused by his withdrawal and the administration of justice

 would not be effected.

    17. Undersigned counsel is at a disadvantage being shorted on his current bill by

 Kevin Guice. However, as undersigned counsel is a one man law firm, being forced

 to work further for free for Kevin Guice would put undersigned counsel out of

 business.

    WHEREFORE, undersigned counsel requests to withdraw as counsel and be

 relieved of further responsibility in this case for Defendant Kevin Guice.

     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

       Pursuant to Local Rule 3.1(g), Tejasvi M. Srimushnam, counsel for the

 Federal Trade Commission, and Denise Beamer and Jennifer Knutton, counsels for

 the Office of the Attorney General, agree with the relief requested in this motion.

                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the forgoing Motion was

 E-filed and served upon the following:

 Counsel for Plaintiffs: Jennifer Knutton, Assistant Attorney General, Office of the

 Attorney General, Consumer Protection Division, 135 W. Central Blvd., Suite 670,

 Orlando, Florida 32801, Jennifer.knutton@myfloridalegal.com, Denise Beamer,


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 Assistant Attorney General, Office of the Attorney General, Consumer Protection

 Division, 135 W. Central Blvd., Suite 670, Orlando, Florida 32801,

 denise.beamer@myfloridalegal.com, Tejasvi M. Srimushnam, Federal Trade

 Commission, 600 Pennsylvania Avenue, NW, Mail Stop H-286, Washington DC,

 20580, , tsrimushnam@ftc.gov, Joshua A. Doan, Federal Trade Commission, 600

 Pennsylvania Avenue, NW, Mail Stop H-286, Washington DC, 20580,

 jdoan@ftc.gov, and Mark J. Bernet, 401 E. Jackson Street, Tampa, Florida 33602,

 mark.bernet@akerman.com.

 Counsel for Defendants: Mario Ceballos, Esquire, mceballos@ceballos-law.com,

 Elias   R.   Hilal,    Esquire,   elais.hilal@erhlaw.com,   David   Hill,   Esquire,

 dphillpa@cfl.rr.com.

 Respectfully Submitted this 13th Day of June, 2017

                                         /s/ Matthew A. Leibert, Esq.
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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has been electronically

 filed on June 13, 2017, via the CM/ECF Electronic Filing System which will

 provide electronic notice to all interested parties.


                                          /s/ Matthew A. Leibert, Esq.
                                          Matthew A. Liebert, Esq.
                                          Fla. Bar No. 0752266
                                          Attorney for Plaintiff
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